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                                     PUBLISHED

                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF VIRGINIA
                        BIG STONE GAP DIVISION


UNITED STATES OF AMERICA,                 )
                                          )
              Plaintiff,                  )      Case No. 2:05CR00034
                                          )
v.                                        )            OPINION
                                          )
JUSTIN L. JONES,                          )      By: James P. Jones
                                          )      Chief United States District Judge
              Defendant.                  )
                                          )


      Zachary T. Lee, Assistant United States Attorney, Abingdon, Virginia, for
United States of America; Henry S. Keuling-Stout, Keuling-Stout, P.C., Big Stone
Gap, Virginia, for Defendant.

        This is an appeal from the judgment of a magistrate judge finding the defendant

guilty of operating a motor vehicle in a national park while under the influence of

alcohol. While I find that the law enforcement officer did not have the authority to

arrest the defendant outside of the national park, I conclude that suppression of the

evidence obtained pursuant to that arrest is not warranted and thus affirm the

conviction.
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                                          I

      On April 29, 2005, Justin L. Jones was charged with operating a motor vehicle

while under the influence of alcohol, in violation of 36 C.F.R. § 4.23(a) (2005), and

speeding 60 miles per hour in a 45-mile-an-hour zone, in violation of 36 C.F.R. §

4.21 (2005), all within the confines of the Cumberland Gap National Historical Park

(the “Park”). On October 19, 2005, he pleaded not guilty and received a bench trial

before a United States magistrate judge. The magistrate judge acquitted the defendant

of the speeding charge but convicted him of driving while intoxicated.           The

defendant noted a timely appeal, see Fed. R. Crim. P. 59(g)(2), which has been argued

and is ripe for decision.



                                         II

      The evidence presented at trial relevant to this appeal is as follows.

      While on duty as a law enforcement officer, U.S. Park Ranger Brien Chartier

was parked at a Shell station beside U.S. Route 58 in the Park on the night of April

29, 2005, when he observed a vehicle on the highway, later determined to be driven

by the defendant, “accelerating at a rapid rate” of speed and “weaving in and out of

traffic.” (Tr. 5, 23.) Chartier then pulled onto the highway and followed behind the

vehicle. Chartier caught up with the vehicle at the base of the entrance ramp onto

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U.S. Route 25E southbound, which is located within the boundaries of the Park.

Chartier then began pacing the vehicle, and, according to Chartier’s testimony, he

clocked the vehicle going 65 miles per hour in a 45-mile-per-hour zone.

      Chartier activated his blue lights in order to make a traffic stop either just under

or just past the walkway located above U.S. Route 25E, approximately one-half mile

from the base of the entrance ramp. This area is in Tennessee just outside the

confines of the Park. In response to the blue lights, Jones immediately pulled over

at the entrance to Lincoln Memorial University in Harrogate, Tennessee.

      During the stop, Chartier asked Jones whether he had been drinking alcohol,

and Jones replied that he had consumed one beer. Jones later testified that he had

consumed one beer just prior to the stop, and that several hours before the traffic stop

he had consumed approximately four beers with friends at a family-owned restaurant.

Chartier instructed Jones to step out of the vehicle to perform three sobriety tests,

namely the horizontal gaze and nystagmus test, the finger count test, and the walk-

and-turn test. Chartier testified that Jones failed the lack of smooth pursuit portion

of the horizontal gaze and nystagmus test and fell off the line one time during the

walk-and-turn test, but Jones testified, and Chartier could not deny, that Chartier had

told him he passed all three sobriety tests.




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      Chartier also administered a preliminary breath test (“PBT”) during the traffic

stop, which showed Jones’ breath alcohol content level to be 0.11. Just prior to

midnight, Chartier arrested Jones for operating a motor vehicle while under the

influence of alcohol and transported him to the Middlesboro Police Department

(“MPD”) in Middlesboro, Kentucky. At 12:36 a.m. on April 30, 2005, an officer with

the MPD administered a breath test on Jones. The Intoxilyzer 5000 results showed

that Jones’ breath alcohol content level was .083 grams per 210 liters of breath, an

amount in excess of the legal limit of .08 grams per 210 liters of breath.

      The defendant moved for judgment of acquittal, arguing in part that Officer

Chartier did not have proper authority to make an arrest pursuant to 16 U.S.C.A. § 1a-

6(b)(1) (West 2000) and thus the evidence obtained by the Intoxilyzer 5000 should

be suppressed. The magistrate judge took the defendant’s motion under advisement

and allowed time for the parties to brief the issues. The magistrate judge ultimately

granted the defendant’s motion in part, dismissing the speeding charge, and denied

the motion in part, finding Jones guilty of operating a motor vehicle while under the

influence of alcohol. United States v. Jones, 403 F. Supp. 2d 518, 519 (W.D. Va.

2005) (Sargent, J.).

      Having considered the parties’ arguments and having reviewed the record

below, I find that the officer was without authority to arrest Jones but that suppression

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of the evidence produced pursuant to that arrest is not an appropriate remedy.

Accordingly, I affirm the defendant’s conviction for driving under the influence.



                                           III

      This appeal is considered as a court of appeals would were the matter on appeal

from a district court bench trial; that is, the magistrate judge’s conclusions of law are

reviewed de novo, but her findings of fact are reviewed only for clear error. See Fed.

R. Crim. P. 58(g)(2)(D); United States v. Orme, 851 F. Supp. 708, 709 (D. Md. 1994),

aff’d, No. 94-5419, 1995 WL 131351 (4th Cir. Mar. 27, 1995) (unpublished). The

defendant does not contest any of the magistrate judge’s factual findings in this

appeal, but only her legal conclusions.

      The defendant argues that Chartier, as a park ranger, lacked the authority to

arrest him because the arrest occurred outside of the Park. Accordingly, the

defendant contends that the arrest was illegal and thus the evidence obtained as a

result of the arrest must be suppressed. For the following reasons, I find that Chartier

lacked the authority to arrest Jones but that the Intoxilyzer 5000 results are

nonetheless admissible against him.




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                                           A

      The authority of a law enforcement officer in a national park is set forth in 16

U.S.C.A. § 1a-6(b), which provides in pertinent part as follows:

      In addition to any other authority conferred by law, the Secretary of the
      Interior is authorized to designate, pursuant to standards prescribed in
      regulations by the Secretary, certain officers or employees of the
      Department of the Interior who shall maintain law and order and protect
      persons and property within areas of the National Park System. In the
      performance of such duties, the officers or employees, so designated,
      may–

      (1) carry firearms and make arrests without warrant for any offense
      against the United States committed in his presence, or for any felony
      cognizable under the laws of the United States if he has reasonable
      grounds to believe that the person to be arrested has committed or is
      committing such felony, provided such arrests occur within that system
      or the person to be arrested is fleeing therefrom to avoid arrest . . . .

16 U.S.C.A. § 1a-6(b) (emphasis added).

      It is clear from this statute that park rangers are permitted to make arrests

without a warrant for any offense against the United States committed in his presence

only if such arrest occurs within the park system or if the person to be arrested is

fleeing from that park system to avoid arrest. While Chartier did observe Jones

driving at a rapid rate of speed and weaving in traffic within the Park, it is undisputed

that the arrest occurred beyond the Park. Therefore, for the arrest in this case to be




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lawful, Jones must have been fleeing from the Park in order to avoid arrest within the

meaning of § 1a-6(b)(1).

      The government contends, and the magistrate judge agreed, that the statutory

language “fleeing therefrom to avoid arrest” does not require a showing that Jones

had knowledge of the pursuit prior to exiting the Park and an intention to hinder the

arrest from occurring, but rather merely requires a showing that Jones departed or

withdrew from the Park thereby preventing, whether intentionally or not, the

occurrence of his arrest on Park property. See 403 F. Supp. 2d at 524. The defendant

contends that jurisdiction to arrest outside the Park does not lie absent an intent on

the part of the defendant to impede the arrest. I agree with the defendant and find that

§ 1a-6(b)(1) requires that a defendant have knowledge that he is being pursued by

police and a resultant intention to evade arrest.

      The magistrate judge’s interpretation of § 1a-6(b)(1) is a legal determination

and thus I review it de novo. See Coleman v. Cmty. Trust Bank (In re Coleman), 426

F.3d 719, 724 (4th Cir. 2005). “Statutory interpretation necessarily begins with an

analysis of the language of the statute,” and the first thing that must be determined is

whether the language at issue has a plain and unambiguous meaning. Id. at 724-25.

Indeed, it is a fundamental canon of statutory construction that “unless otherwise

defined, words will be interpreted as taking their ordinary, contemporary, common

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meaning.” United States v. Maxwell, 285 F.3d 336, 340 (4th Cir. 2002) (internal

quotation marks omitted) (quoting United States v. Lehman, 225 F.3d 426, 428 (4th

Cir. 2000)).

       As the magistrate judge pointed out in her opinion, one common meaning of

to “flee” is “to pass away swiftly.” 403 F. Supp. 2d at 524. However, to “flee” is also

defined as “to run away often from danger or evil” or “to hurry toward a place of

security.” Merriam Webster’s Collegiate Dictionary 445 (10th ed. 1993). These

latter definitions support the conclusion in this statutory context that a person who is

fleeing has knowledge of what it is he is fleeing from and intends to escape.

Moreover, the common and ordinary meaning of to “avoid” is “to prevent the

occurrence or effectiveness of.” Id. at 80. I find that the plain language of the statute

requires a showing that an arrestee knows or reasonably should know that he is being

pursued upon exiting the park system.1

       1
          In most cases, proof of awareness of pursuit in a motor vehicle case would not be
difficult. For example, if the suspect vehicle did not stop promptly following an officer’s
request, or if the vehicle continued exceeding the speed limit when the officer came into
view, it could be reasonably inferred that the arrestee was fleeing the park system to avoid
arrest. Here, of course, the arrest occurred at night, and the officer did not attempt to stop
Jones until he was outside the Park.

       Chartier testified at trial that when he first saw the defendant’s car, it “passed by in
such a manner that my suspicion was raised that the vehicle might have been trying to out
distance me before I could pull into the road behind it.” (Tr. 42.) However, the magistrate
judge did not find that Jones knew that he was about to be pursued, and indeed, she
determined that § 1a-6(b)(1) “does not require that a defendant have any knowledge that he

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        Such a showing was not made in the instant case. The evidence is undisputed

that Chartier and his partner did not activate their blue lights, thereby initiating the

stop, until after they had traveled outside of the Park. The evidence is also clear that

Jones pulled over immediately following the initiation of the stop. There is no other

evidence from which it could reasonably be inferred that Jones knew that the officers

were following him before the initiation of the stop. Therefore, I find that Jones did

not flee from the Park in order to avoid arrest within the meaning of § 1a-6(b)(1), and

accordingly that Chartier did not possess the authority to arrest Jones outside of the

Park.

        This conclusion is consistent with the holding in United States v. Fox, 147 F.

Supp. 2d 1008 (N.D. Cal. 2001). In Fox, the defendant’s vehicle, while traveling in

the Presidio, approached a United States park police officer who was using a radar

gun. Id. at 1009. The officer clocked the defendant as traveling well in excess of the

posted speed limit. Id. The officer then signaled the defendant to pull over by

activating her flashing lights and began following the defendant. Id. Rather than

pulling over, the defendant drove on for approximately 200 yards, left the Presidio,

and came to a stop about one block outside the park. Id. After approaching the car



or she is being pursued by police.” 403 F. Supp. 2d at 524. Officer Chartier did not further
explain how Jones might have seen him at night, or otherwise the basis for his suspicion.

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the officer observed signs of intoxication, had the defendant perform certain field

sobriety tests, and eventually arrested the defendant for driving under the influence

of alcohol. Id.

      In concluding that the defendant was fleeing to avoid arrest within the meaning

of § 1a-6(b)(1) and that the officer was thus authorized to arrest the defendant, the

Fox court explained that, while it did “not read that section as requiring that the

defendant lead the police on a high speed chase to race them to the park’s border,”

the statute was satisfied because the officer attempted to stop the defendant in the

park but the defendant continued to travel through the park so that she could not be

arrested within its borders. Id. at 1010. The court went on to emphasize that its

conclusion was bolstered by the fact that “the defendant later contend[ed] that the

Park Police lacked jurisdiction to arrest her solely because she managed to leave the

Presidio before she stopped.” Id. The present case is distinguishable from Fox in that

(1) Chartier did not initiate the traffic stop until both Jones and the officers had

crossed outside of the Park and (2) Jones immediately pulled over after the blue lights

were activated.

       Of course, Congress was not required to limit the authority of law enforcement

officers as it did in § 1a-6(b)(1). Under the Uniform Fresh Pursuit Act, as it has been

enacted in some states, a police officer may have the extraterritorial authority to arrest

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for drunk driving whenever in fresh or hot pursuit and proof of awareness by the

suspect of such pursuit may not be required. See State v. Kowal, 626 A.2d 822, 825

(Conn. App. Ct. 1993) (holding that under state statute, attempted avoidance of arrest

is not required in order to show officer’s immediate pursuit). But see City of Ash

Grove v. Christian, 949 S.W.2d 259, 263-64 (Mo. Ct. App. 1997) (noting that facts

indicating lack of knowledge of pursuit were relevant to whether officer was in fresh

pursuit).2 Nevertheless, I must construe the statute as it is written.

                                               B

       While I find that Chartier lacked statutory authority to arrest Jones for driving

under the influence, I will affirm Jones’ conviction because I do not believe that

suppression of the Intoxilyzer 5000 results is warranted.3 “There must be an

exceptional reason, typically the protection of a constitutional right, to invoke the

exclusionary rule.” United States v. Harrington, 681 F.2d 612, 615 (9th Cir. 1982).


       2
          There is a common law doctrine of extraterritorial fresh pursuit, but it is limited to
felony arrests. See City of Ash Grove, 949 S.W.2d at 263. Some cases have upheld an
extraterritorial arrest by a police officer when not in fresh pursuit under circumstances where
a private citizen could have validly made the arrest. See Russell G. Donaldson, Annotation,
Validity, in State Criminal Trial, of Arrest Without Warrant by Identified Peace Officer
Outside of Jurisdiction, When Not in Fresh Pursuit, 34 A.L.R. 4th 328, 334-61 (1984).
However, no such contention is made in this case.
       3
           I may affirm the judgment below even though I do so based on a different reason
from that relied on by the magistrate judge. See United States v. Good, 326 F.3d 589, 591
(4th Cir. 2003).

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The majority of courts that have considered the issue have concluded that an arresting

officer’s lack of statutory authority to make an arrest is not a per se violation of the

Fourth Amendment. See, e.g., Pasiewicz v. Lake County Forest Pres. Dist., 270 F.3d

520, 526-27 (7th Cir. 2001) (holding that a forest-preserve officer’s arrest of

defendant in violation of state statute setting forth his territorial authority did not rise

to level of constitutional violation); United States v. Jones, 185 F.3d 459, 463 (5th

Cir. 1999) (noting that the relevant question when considering suppression of

evidence is whether officials violated the Fourth Amendment and concluding that

state law deficiencies in arrest were irrelevant); Abbott v. City of Crocker, 30 F.3d

994, 997-98 (8th Cir. 1994) (finding that an arrest that exceeded the officer’s

territorial authority was not an automatic violation of the Fourth Amendment but that

the lack of statutory authority could be a factor in determining Fourth Amendment

“reasonableness”) .4




       4
           For cases holding to the contrary, see, e.g., Ross v. Neff, 905 F.2d 1349, 1354 (10th
Cir. 1990) (holding that “[a] warrantless arrest executed outside of the arresting officer’s
jurisdiction is analogous to a warrantless arrest without probable cause” and “[a]bsent
exigent circumstances, such an arrest is presumptively unreasonable”); United States v.
Foster, 566 F. Supp. 1403, 1411-12 (D.D.C. 1983) (“The concept of reasonableness
embodied in the Fourth Amendment logically presupposes an exercise of lawful authority by
a police officer. When a law enforcement official acts beyond his or her jurisdiction, the
resulting deprivation of liberty is just as unreasonable as an arrest without probable cause.”).

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       Although the cases cited above all involved violations of state statutes, I see

no reason to distinguish this case merely because the statute at issue here is a federal

one. The underlying command of the Fourth Amendment is reasonableness, and the

fact that an arrest may have violated a territorial-limitation statute, whether it be state

or federal, is merely a factor to be considered when deciding whether this

constitutional mandate has been followed. Cf. United States v. Mikulski, 317 F.3d

1228, 1232 (10th Cir. 2003) (explaining that “‘the fact that the arrest, search, or

seizure may have violated state law is irrelevant as long as the standards developed

under the Federal Constitution were not offended’” (quoting United States v. Green,

178 F.3d 1099, 1105 (10th Cir. 1999)). While there is no Fourth Circuit precedent

directly on point, the opinion in United States v. Mason, 52 F.3d 1286 (4th Cir. 1995),

lends further support to this proposition. In Mason, the Fourth Circuit explained that

“[t]he fact that a Customs Agent who was not technically authorized to conduct the

search did so does not [standing alone] rise to the level of a constitutional violation

warranting suppression of the evidence.” Id. at 1289 n.5.

       Because I find that the fact that Chartier exceeded his statutory authority in

arresting Jones, by itself, does not establish a Fourth Amendment violation

warranting suppression, I must assess the overall reasonableness of the arrest to

determine whether the Intoxilyzer 5000 results must be suppressed under the Fourth

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Amendment exclusionary rule. It is well established that “a warrantless arrest by a

law officer is reasonable under the Fourth Amendment where there is probable cause

to believe that a criminal offense has been or is being committed.” Devenpeck v.

Alford, 543 U.S. 146, 152 (2004). Here, Chartier undoubtedly had probable cause to

arrest Jones for driving under the influence because during the initial stop Jones

admitted he had been drinking, failed the lack of smooth pursuit portion of the

horizontal gaze and nystagmus test, fell off the line during the walk-and-turn test, and

blew a 0.11 on the PBT. Furthermore, there is no indication that Chartier knew that

he lacked jurisdiction to arrest Chartier just beyond the Park boundary. See

Pasiewicz, 270 F.3d at 527 (suggesting that such knowledge may indicate

unreasonableness under the Fourth Amendment). Therefore, I find that the arrest in

the instant case was clearly reasonable, the extraordinary remedy of exclusion of the

Intoxilyzer 5000 results is inappropriate, and the defendant’s conviction must stand.5

       5
          As alternative grounds for reversal, the defendant argues that Chartier lacked an
articulable reasonable suspicion to make the stop and also that he lacked the authority to stop
the defendant outside of the Park. These arguments are without merit. The Fourth
Amendment permits limited investigative stops by law enforcement officers as long as such
stops are justified “by a reasonable and articulable suspicion that the person seized is
engaged in criminal activity.” Reid v. Georgia, 448 U.S. 438, 440 (1980). Such reasonable
suspicion was clearly present when Chartier initially stopped the defendant because Chartier
had paced Jones’ vehicle at 60 miles per hour in a 45-miles-an-hour zone. While the
magistrate judge found that this evidence was unreliable and thus does not prove that the
defendant was speeding beyond a reasonable doubt, it is sufficient to show the lower
standard of reasonable suspicion necessary to justify an investigative stop. The ongoing
detention to investigate whether Jones was driving under the influence was justified both

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                                             IV

       For the foregoing reasons, I will affirm the judgment of the magistrate judge.

A separate final judgement will be entered forthwith.



                                                    DATED: April 21, 2006

                                                    /s/ JAMES P. JONES
                                                    Chief United States District Judge




because Chartier had observed Jones’ vehicle weaving in traffic at a rapid rate and also
because Chartier smelled alcohol when he approached Jones’ car. Therefore, Chartier clearly
had reasonable suspicion to perform the investigative stop.

      Contrary to defendant’s contention, Chartier also had the statutory authority to
perform the stop outside the Park under § 1-6(b)(3), which authorizes park rangers to:

       conduct investigations of offenses against the United States committed in [the
       Park] system in the absence of investigation thereof by any other Federal law
       enforcement agency having investigative jurisdiction over the offense
       committed or with the concurrence of such other agency.

16 U.S.C.A. § 1a-6(b)(3). The geographic scope of an officer’s investigative authority is not
limited to federal property as long as the potential offense being investigated was committed
within the park system. See United States v. Smith, 713 F.2d 491, 494 (9th Cir. 1983). Here,
Chartier observed Jones driving at a rapid rate and weaving in traffic while in the Park and
thus was authorized by statute to perform the investigation.

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